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                                 #:2581
                                                                9440 Santa Monica Blvd., #310
                                                                      Beverly Hills, CA 90210

                                                                        Phone: (310) 402-5555
                                                                          Fax: (310) 424-4041
                                                                      www.escrowofthewest.com




                    AMENDED SELLER'S FINAL SETTLEMENT STATEMENT

PROPERTY:      11623 Morrison Street                  DATE:                January 19, 2018
               Los Angeles, CA 91601
                                                      CLOSING DATE:        January 19, 2018
SELLER:        Artur Elizarov                         ESCROW NO.:          02-028633-AC


                                                                       DEBITS          CREDITS
FINANCIAL CONSIDERATION
Total Consideration                                                                  2,030,000.00

PAYOFF CHARGES - Luther Burbank Savings
[Total Payoff $1,345,324.96]
Principal Balance                                               1,342,500.00
Interest on Principal Balance to 01/19/2018                         2,656.96
Recording Fee                                                          18.00
Payoff Demand                                                          30.00
Reconveyance Fee                                                       45.00
Other                                                                  75.00

PAYOFF CHARGES - Internal Revenue Service
[Total Payoff $91,567.25]
Principal Balance                                                     91,567.25




PRORATIONS/ADJUSTMENTS
County Taxes at $11,016.90/semi-annually from 01/01/2018 to            1,101.69
01/19/2018

COMMISSION CHARGES


OTHER DEBITS/CREDITS




Transfer Tax - County to Los Angeles County                            2,233.00
Transfer Tax - City to City of Los Angeles                             9,135.00




                                                                                  Exhibit M - 1
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                                 #:2582
Date: January 19, 2018                                    Escrow No.: 02-028633-AC

Page 2 of 2:
                                                             DEBITS           CREDITS

Net Proceeds

TOTAL                                                  $ 2,032,380.00    $ 2,032,380.00




                     SAVE THIS STATEMENT FOR INCOME TAX PURPOSES




                                                                        Exhibit M - 2
